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8                         UNITED STATES DISTRICT COURT
9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                EASTERN DIVISION
11 THE APPEAL, INC. and ETHAN                No. 5:22-cv-02111-WLH (AFM)
   COREY,
12
               Plaintiffs,                   ORDER RE STIPULATION TO
13                                           CONTINUE HEARING FOR FINAL
               v.                            RULING ON SUMMARY JUDGMENT
14
                                             MOTION [77]
15 UNITED STATES DEPARTMENT OF
   JUSTICE’S OFFICE OF JUSTICE
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   PROGRAMS,
17             Defendant.
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     Case 5:22-cv-02111-WLH-SK    Document 78 Filed 04/16/25       Page 2 of 2 Page ID
                                        #:1091



1         The Court, having read the Stipulation to Continue the April 18, 2025,
2    Hearing For Final Ruling on Summary Judgment Motion, hereby ORDERS:
3
4         1. The Stipulation is GRANTED;
5         2. The Hearing for Final Ruling on Summary Judgment Motion is CONTINUED
6         from April 18, 2025, to May 23, 2025 at 1:30 p.m. in the above-entitled court
7         located at the First Street Courthouse, 350 W. 1st Street, Courtroom 9B, 9th Floor,
8         Los Angeles, California 90012 before the Honorable Wesley L. Hsu.
9
10   IT IS SO ORDERED.
11
12   Dated 4/16/2025                      _______________________________
13                                        HON. WESLEY L. HSU
                                          UNITED STATES DISTRICT JUDGE
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